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EXHIBIT A

 

 
 

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“BP-4o2q ASE 4-T7=CV NT OF ragole

BS ee ¥ FEDERAL BUREAU OF FRISG:

  

tl rere spl = —

PARTI - INCIDENT REPORT _
4.NAME OFINSTITUTION © ~ | INcibENT REPORT ao
LSCI ALLENWOOD 0d TELY SI.

2. NAME OF INNATE . 3. REGISTER NUMBER 4, DATE OF INCIDENT 6, THAE

+ + Mamemana, Anthony , {adoa0e7 = | 07/10/2046 ‘| 4220 pm

ay a —

 

at

 

 

 

 

 

 

 

 

7. ASSIGNMENT t : 8. UNIT

6. PLACE OF INCIDENT: 4
. Special Housing Range 4 . yo - Unassigned SHU ' GB

 

 

 

S.icwENT Refusing to obey an order of any staff member. 10. Cones) 307

 

44.DESCRIPTION OF INCIDENT (DATE: 07/10/2016 TIME: 12:20PM (Staff hecome aware of Incident)

On 7/10/2018, at approximately 1220pm, Officer Kustanbauter and | were moving inmate cell moves. While attempting to
move Inmate Mammana #14394-067 to Z01-003 from his current cell, Z01-004, he refused to be placed in the cell, | gave
Inmate Mammana a direct order to go in to cell Z01-004, which he refused. Lt Barben was notified and inmate Mainmana

was placed in 204-002. No Further actions were needed.

 

42, SIGNATURE OF er EMPLOYEE DATE AND TIME

 

 

 

13. NAME AND TITLE
Lor AF , 07/40/20018 41300 pm Brooke, Bryson 8.0.
14, INCIDENT gine DELIVERED TO INMATE BY! 16. DATE DELIVERED INCIDENT REPORT | 16.TIME INCIDENT REPORT DELIVERED

 

 

(>> Gelb LV Sb TOA : > Slr S

PART fl —- COMMITTEE ACTION

17. COMMENTS OF INMATE TO reerysy tad a eh iG fects INCIDENT:
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io fo cess bac oe ' et Smedvunllakeution .

guy Te pus

 

 

 

 

 

 

 

 

 

 

 

 

18. 4.17 is THE FINDING OF THE COMMITTEE THAT YOU: | THE COMMITTEE IS REFERRING THE hoes
COMMITTED THE FOLLOWING PROHIBITED ACT.” 777 TO THE DHO FOR FUR KEK: HEARING. (
DID NOT COMMIT A PROHIBITED ACT. G. __ THE COMMITTEE ADVISED THE INMATE OF ifs
——— FINDINGS AND OF THE RIGHT TO FILE ay
APPEAL WITHIN 15 GALENDAR DAYS __ [*- wel:
18, COMMITTEE DECISION IS BASED ON THE FOLLOWING INFORMATION Eat
Neeinion “3 boged on fhe atticer S wi Hee stofew ert te sup pe ring waeas Stating fiat ms
ierote woe Given o dtteat order t, ge" inte the cell whe vetted, tee inanate's eas
‘ also supports the feet “fled he would F qe inte He Toa VE CRS orderea~t GOS
20, COMMITTEE ACTION ANDIOR RECONMENDATION IF REFERRED TO DHO (CONTINGENT UPON DHO FINDING INMATE COMMITTED PROHIBITED ACT)
30 Boys Loss | ak Emmet Bran le ges

 

21, DATE AND TIME OF ACTION °7/18 As [)* 2% ax (THE UDC CHAIRMAN'S SIGNATURE NEXT TO HIS NAME CERTIFIES

w pasfucteteipronarne COMPLETED REP@RTACQURATELY Lepper PROCEEDINGS.)
Ado Ba]:

Giloso nw
f
Chaiman {Typed Name/Signature} Member (Typad Name) iviember (Typed Name}

 

 

 

 

 
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EXHIBIT B

 

 

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 BP-A0304 Discipline Hearing Officer Report corrm
AUG 11 ;
U.S. Department Of Justice Federal Bureau Of Prisons
INSTITUTION LSCI_ALLENWOOD, PA INCIDENT _REPORT NUMBER 2736049
INMATE NAME md ~ Cie Gregg 8B
ae 7/9/15
DATE OF INCIDENT |7/9/15 DATE OF INCIDENT REPORT
OFFENSE CODE(S) 298(225), 402

 

Interfering with staff in the performance of duties (Stalking another
person through vepeated behavior which harasses, alarms, or annoys
the person after having been previously warned to stop such conduct

Malingering, feigning illness

SUMMARY OF CHARGE (S}

 

 

I. NOTICE OF CHARGE(S)

 

A. Advanced written notice of charge(s) {copy of Incigent Report) was given to inmate on

(date) 7/9/15 (time}3:30

B. The DHO Hearing was held on (date) 7/23/ 15

(by) c. Coombe

 

(time) 1005

 

C. The inmate was advised of his rights before the DHO by (staff member):

on 7/16/15 and a copy

R. Gibson, CC
{date}

of the advisement of rights form is attached.

 

II, STAFF REPRESENTATIVE

 

ZX | No

 

 

 

 

A. Inmate waived right to staff representative. Yes

 

B. Inmate requested staff representative and appeared.

 

The inmate was advised of the option
with the result: N/R

was appointed.

C, Requested staff representative could not appear.
to postpone hearing to obtain another representative

 

 

 

D. Staff representative

 

BE. Staff representative statement: N/A

 

TIT. PRESENTATION OF EVIDENCE
A. Inmate Adwite (Denies x

rae a”

B, Summary of inmate statement: ~~

AE the onset of this hearing, thie inmate was verbally advised of his Rights before the DHO,
indicated he understood them and chose to provide the following statement:

 

 

 

 

 

Neither

 

 

 

 

“It started out that I was getting sick whenever I ate and got very light headed. My hands
were going numb and I was very scared that something was happening. I went to medical a bunk
of times and they gave me Prilosec and were checking my blood sugar. They thought I was having
panic attacks. In the end they took me out for a cat scan but didn’t find anything. I think

it's because of my eating. I think I’m bleeding.”

 

No procedural issnes were cited by the inmate and no documentary evidence was provided for

 

consideration.

 

Poy Sy tet cpa brid. mors

*Sensitive But Unclassified*

 

 
 

 

5 ‘Name of Inmate: MAMMANA, Anthony Reg. No.: 14394-067 Hearing Date: 7/23/15

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Cc, Witness (es):

 

 

 

 

 

1. The inmate requested witness (es) . Yes No X

The following persons were called as witnesses at this hearing and appeared.

 

 

The following persone requested were not called for the reason(s) given:

 

4. The following persons requested wexe not called for the following reason(s) given:

 

5. Unavailable witnesses were requested to submit written statements.and those statements
were received and considered. ta :

D. Documentary Evidence: In addition to the Incident Report and Investigation, the DHO
considered the following documents: ,

 

Memorandum from A. Bruno, dated July 10, 2015.
BOP Health Services Clinical Encounter for MAMMANA, Anthony # 14394-067 dated 7/7/15 thru

7/9/15.

EB. Confidential information was used by DHO in support of his findings, but was not revealed
to the inmate. ‘The confidential information was documented in a separate report. The
confidential information has been /confidential informant(s) have been determined to be

reliable because: N/A

 

 

IV. FINDINGS OF THE DHO

 

A. The act(s) was/were committed as charged.

 

 

B. The following act(s) was/were committed:

—
&, No prohibited act(a) was/were committed: Expunge according to PS 5270.09,

 

 

D. Not Psychologically Responsible.
V. SPECIFIC EVIDENCE RELIED ON TO SUPPORT FINDINGS (Physical evidence, observations, written
documents, etc.)

During this discipline hearing for MAMMANA, Anthony, Register No. 143944-067, -he DHO expunged
the prohibited acts of Interfering with staff in the performance of duties (Stalking another
person through repeated behavior which harasses, alarms, or annoys the person after having
been previously warned to stop such conduct and Malingering, feigning illness, Codes 298(225),

225 and 402,

 

 

 

 

 

 

 

VI. SANCTION OR ACTION TAKEN

 

“)Expunged ., a

 

VII. “REASON FOR SANCTION OR ACTION TAKEN

 

The DHO expunged the charged acts in this case. Documentary evidence showed MAMMANA seeing

five different medical staff members regarding. his stated issues over a short period of time.

Direction fox the inmate ‘to have Sick cali follow-ups were noted on a majority the Clinical
Encounter Fors. The DHO believed ait was undetermined whether or not MAMMANA was feigning

Sy™méese and no evidence showed him involved in any stalking type behaviors.

 

VIII. APPEAL RIGHTS: The inmate has been advised of the findings, specific evidence relied
on, action and reasons for the action. The inmate has been advised of his right to appeal
this action within 20 calendar days under the Administrative Remedy Procedure. A copy of this

 

 

report has been given to the inmate.

 

Ppl WES Ge oo Ute en PRG ta met Ved. OM es for Pe ogee back ya madiont Poe Suttows ue,
4 oo ,

 
 

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" Name of Inmate: MAMMANA, Anthony

Hearing Date: 7/23/15

 

Reg, No.: 14394-067

 

 

 

 

 

 

IX. DISCIPLINE HEARING OFFICER
Printed Name of DHO Signature of DHO Date
Todd W. Cerney ath Ce "ZT v_

 

Delivered to Inmate “4 2 ~- Bes tT 2
, Prescribed by P5270

Replaces BP -304 (52) of JAN 88

 
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EXHIBIT C

 
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Reg. No.: §
Lycoming B
Page Il

— Inmate Request to Staff Response

This is in response to your Inmate Request to Staff dated

August 4, 2015, wherein you report you were advised that you are the
subject of a threat assessment, but indicate you do not understand.
Specifically, you state you have no, history of violence and question
as to how you could pose a threat to anyone. You conclude you
correspondence by requesting to be provided with information to help

you understand.

A Threat assessment is a review pracess used to evaluate the risk
posed by an inmate or another person, typically as a response to an
actual or perceived threat or concerning behavior. Additionally, I
am to understand you were recently advised by the Special
Investigative Supervisor as to the reason for the assessment.

In that you have been provided with an explanation as to what a Threat
Assessment is. I trust this information addresses your concerns.

 

E,.“Rokosky

Date
Associate Warden

 

RI .

 
 

-—*-—€ase-4:t7-ev-00645-M 71 of 21
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47. ‘Comments Of The Inmate Ta The Unit Discipline Committee Regarding The Abova Incident

 

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Chardie(s} To. The PHO. For Fr Further
Hearing,” . :

 

 

 

 

 

Committed The 1a Followiig Pr Prohibited Act.

 

 

 

 

[Din Not Coniit A Prohibited Act.

  
  

 

 

The Coramitise Advised The ‘Inmate:
Of the Fitiding And OF The Right: To.
File An A

 

 

 

 

 

 

20; “Committed, dctid
prohibited act :

  

 

 

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Robe rt Gibbon

 

 

 

 

  

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Member tTvPde wari) :

 

 

 
